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17                                                        page]

18                               UNITED STATES DISTRICT COURT

19                            NORTHERN DISTRICT OF CALIFORNIA

20                                    SAN FRANCISCO DIVISION

21
     MAXIMILIAN KLEIN, et al., on behalf of           Case No. 3:20-cv-08570-JD
22   themselves and all others similarly situated,
23                                 Plaintiffs,        NOTICE OF FILING OF JOINT
                                                      STATEMENTS REGARDING CLASS
24          v.                                        CERTIFICATION CONCURRENT
                                                      EXPERT PROCEEDING
25   META PLATFORMS, INC., a Delaware
     Corporation,
26                                                    Judge: Hon. James Donato
                                   Defendant.
27

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     No. 3:20-cv-08570-JD                              JOINT STATEMENTS RE CLASS CERTIFICATION
                                                                CONCURRENT EXPERT PROCEEDING
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 1          Pursuant to this Court’s November 18, 2022 Amended Scheduling Order, Dkt. 379, the

 2   parties submit attached as Exhibit 1, the joint statement regarding the class certification concurrent

 3   expert proceeding between User Plaintiffs and Meta Platforms, Inc., and Exhibit 2, the joint

 4   statement regarding the class certification concurrent expert proceeding between Advertiser

 5   Plaintiffs and Meta.

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     No. 3:20-cv-08570-JD                             -1- JOINT STATEMENTS RE CLASS CERTIFICATION
                                                                   CONCURRENT EXPERT PROCEEDING
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      DATED: November 10, 2023                  Respectfully submitted,
 2

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     No. 3:20-cv-08570-JD                       -2- JOINT STATEMENTS RE CLASS CERTIFICATION
                                                             CONCURRENT EXPERT PROCEEDING
       Case 3:20-cv-08570-JD Document 704 Filed 11/10/23 Page 4 of 6




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     No. 3:20-cv-08570-JD                 -3- JOINT STATEMENTS RE CLASS CERTIFICATION
                                                       CONCURRENT EXPERT PROCEEDING
       Case 3:20-cv-08570-JD Document 704 Filed 11/10/23 Page 5 of 6




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     No. 3:20-cv-08570-JD                 -4- JOINT STATEMENTS RE CLASS CERTIFICATION
                                                       CONCURRENT EXPERT PROCEEDING
       Case 3:20-cv-08570-JD Document 704 Filed 11/10/23 Page 6 of 6




 1                                   SIGNATURE ATTESTATION

 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3   Sonal N. Mehta. By her signature, Ms. Mehta attests that she has obtained concurrence in the

 4   filing of this document from the signatories.

 5

 6                                   CERTIFICATE OF SERVICE

 7          I hereby certify that on this 10th day of November 2023, I electronically transmitted the

 8   foregoing document to the Clerk’s Office using the CM/ECF System.

 9
                                                     By:   /s/ Sonal N. Mehta
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                                                            Sonal N. Mehta
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     No. 3:20-cv-08570-JD                            -5- JOINT STATEMENTS RE CLASS CERTIFICATION
                                                                  CONCURRENT EXPERT PROCEEDING
